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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Mary de Leon, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On July 21, 2023, I caused a true and correct copy of the following documents to be served

via the Court’s ECF system.

         On July 21, 2023, I also caused a true and correct copy of the following documents to be

served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit A:

         On July 21, 2023, I caused a true and correct copy of the following documents to be served

via electronic mail upon the parties set forth on the service list annexed hereto as

Exhibit B.




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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   CERTIFICATION OF NO OBJECTION REGARDING (1) TWENTY-NINTH
    MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
    FOR PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS
    INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS FOR THE PERIOD FROM MAY 1, 2023 THROUGH MAY 31, 2023;
    AND (2) THIRTY-FIRST MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS
    SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED AND
    DISBURSEMENTS INCURRED FOR THE PERIOD FROM MAY 1, 2023
    THROUGH MAY 31, 2023

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.


Dated this 21st day of July, 2023.



                                                      /s/ Mary de Leon
                                                      Mary de Leon




                                                 2
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                                        EXHIBIT A
Service by U.S. First Class Mail

       NAME                    NOTICE NAME                 ADDRESS
 THE ROMAN                    THOMAS RENKER 50 NORTH PARK AVENUE
 CATHOLIC                                   P.O. BOX 9023,
 DIOCESE OF                                 ROCKVILLE CENTRE,
 ROCKVILLE CENTRE,                          NY 11571-9023
 NEW YORK

 JONES DAY                    CORINNE BALL      250 VESEY STREET
                              BENJAMIN          NEW YORK, NY 10281
                              ROSENBLUM
                              ANDREW M.
                              BUTLER
 OFFICE OF THE                GREG ZIPES        US FEDERAL BUILDING
 UNITED STATES                                  201 VARICK STREET, SUITE 1006
 TRUSTEE                                        NEW YORK, NY 10014




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                                        EXHIBIT B
Service by E-Mail

            NAME               NOTICE NAME                      EMAIL
 JONES DAY                    CORINNE BALL,     CBALL@JONESDAY.COM;
                              BENJAMIN          BROSENBLUM@JONESDAY.COM;
                              ROSENBLUM,        ABUTLER@JONESDAY.COM
                              ANDREW M.
                              BUTLER,
 OFFICE OF THE UNITED         SHARA CORNELL     SHARA.CORNELL@USDOJ.GOV
 STATES TRUSTEE               GREG ZIPES        GREG.ZIPES@USDOJ.GOV




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